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                    UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW JERSEY
                             (CAMDEN VICINAGE)
____________________________________
                                     :  (Hon. Gloria M. Burns)
In re:                               :
SHAPES/ARCH HOLDINGS, L.L.C.,        :  Chapter 11
et al,                               :
                  Debtors.           :  Lead Case No.: 08-14631 (GMB)
                                     :  (Jointly Administered)
                                     :
____________________________________:

                                   CERTIFICATE OF SERVICE

       I, Samantha L. Southall, hereby certify that on this 1st day of July, 2008, I caused a true

and correct copy of the foregoing Notice of Appearance to be served by First Class mail, postage

prepaid, upon each of the parties or counsel listed on the attached Service List and where

indicated, also by electronic mail.


                                                     /s/ Samantha L. Southall

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